     Case: 1:11-cv-07892 Document #: 75 Filed: 12/13/13 Page 1 of 1 PageID #:778

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                 Eastern Division

Michelle M. Suvada
                                         Plaintiff,
v.                                                       Case No.: 1:11−cv−07892
                                                         Honorable Edmond E. Chang
The Gordon Flesch Company, Inc.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 13, 2013:


        MINUTE entry before the Honorable Edmond E. Chang: In light of the successful
settlement conference, the status hearing of 12/16/2013 is vacated. The Court expresses its
deep gratitude to the magistrate judge for bringing the parties together, and commends the
parties for arriving at a mutually agreeable resolution. Civil case terminated. Mailed
notice(slb, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
